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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

                                            Case No.

 PREPARED FOOD PHOTOS, INC. f/k/a ADLIFE
 MARKETING & COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

 WING MADNESS INC.,

        Defendant.


                                         COMPLAINT

       Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

(“Plaintiff”) sues defendant Wing Madness Inc. (“Defendant”) and alleges as follows:

                                        THE PARTIES

       1.      Plaintiff is a corporation organized and existing under the laws of the State of

Florida with its principal place of business located in Broward County, Florida.

       2.      Defendant is a corporation organized and existing under the laws of the State of

Connecticut with its principal place of business located at 716 Dixwell Avenue, New Haven, CT,

06511. Defendant’s agent for service of process is Henry Mensah CPA LLC, 221 Main Street, 5th

Floor, Hartford, CT 06106.

                                JURISDICTION AND VENUE

        3.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

        4.      This Court has personal jurisdiction over Defendant because it maintained

 sufficient minimum contacts with Connecticut such that the exercise of personal jurisdiction over
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 it would not offend traditional notions of fair play and substantial justice.

         5.      Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

 Defendant or its agents reside or may be found in this district. “A defendant ‘may be found’

 wherever that person is amenable to personal jurisdiction.” Cavu Releasing, LLC. v. Fries, 419

 F. Supp. 2d 388, 394 (S.D.N.Y. 2005). In other words, “[v]enue is proper in his District because

 the defendants are subject to personal jurisdiction in this District.” Noble v. Crazetees.com, 2015

 U.S. Dist. LEXIS 130508, at *9 (S.D.N.Y. July 16, 2015).

                                               FACTS

I.     Plaintiff’s Business

       6.        Plaintiff is in the business of licensing high-end, professional photographs for the

food industry.

       7.        Through its commercial website (www.preparedfoodphotos.com), Plaintiff offers

a monthly subscription service which provides access to/license of tens of thousands of

professional images.

       8.        As of the date of this pleading, Plaintiff charges its clients (generally, grocery

stores, restaurant chains, food service companies, etc.) a minimum monthly fee of $999.00 for

access to its library of professional photographs.

       9.        Plaintiff does not license individual photographs or otherwise make individual

photographs available for purchase. Plaintiff’s business model relies on its recurring monthly

subscription service such that Plaintiff can continue to maintain its impressive portfolio.

       10.       Plaintiff owns each of the photographs available for license on its website and

serves as the licensing agent with respect to licensing such photographs for limited use by

Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

license for use of any photograph by the customer only. Plaintiff’s license terms make clear that
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all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

assign, or sub-license any of Plaintiff’s photographs to another person/entity.

II.       The Work at Issue in this Lawsuit

          11.   In   1998,   a   professional    photographer     created   a     photograph   titled

“ChickenWingHot004_ADL.” A copy of the Work is exhibited below:




          12.   The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

the author that transferred all rights and title in the photograph to Plaintiff) with the Register of

Copyrights on January 26, 2017 and was assigned Registration No. VA 2-046-824. A true and

correct copy of the Certification of Registration pertaining to the Work is attached hereto as

Exhibit “A.”


          13.   Plaintiff is the owner of the Work and has remained the owner at all times material

hereto.

III.      Defendant’s Unlawful Activities

          14.   Defendant is a restaurant that serves chicken wings and Jamaican food in New


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Haven, Connecticut.

       15.        Defendant advertises/markets its business primarily through its website

(https://wingmadness.com/), social media (e.g., https://www.facebook.com/WingMadness-

144992908872602/ and https://www.instagram.com/wingmadness/), and other forms of

advertising.

       16.        On a date after Plaintiff’s above-referenced copyright registration of the Work,

Defendant published the Work on Defendant’s restaurant menu and website (at

https://wingmadness.com/menu) in connection with Defendant’s business:




       17.        A true and correct copy of the screenshots of Defendant’s website, displaying the

copyrighted Work, is attached hereto as Exhibit “B.”

       18.        Defendant is not and has never been licensed to use or display any of the Work.

Defendant never contacted Plaintiff to seek permission to use the Work in connection with its

website advertising or for any other purpose – even though the Work that was copied is clearly

professional stock photography that would put Defendant on notice that the Work was not intended

for public use.

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         19.   Defendant utilized the Work for commercial use – namely, in connection with the

marketing of Defendant’s restaurant and bar.

         20.   Upon information and belief, Defendant located a copy of the Work on the internet

and, rather than contact Plaintiff to secure a license, simply copied the Work for their own

commercial use.

         21.   Through its ongoing diligent efforts to identify unauthorized use of its photographs,

Plaintiff first discovered the aforementioned unauthorized use/display of the Work in November

2022. Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized

use. To date, Plaintiff has been unable to negotiate a reasonable license for the past/existing

infringement of its Work.

         22.   All conditions precedent to this action have been performed or have been waived.

                         COUNT I – COPYRIGHT INFRINGEMENT

         23.   Plaintiff re-alleges and incorporates paragraphs 1 through 22 as set forth above.

         24.   The Work is an original work of authorship, embodying copyrightable subject

matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101 et

seq.).

         25.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

         26.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

Defendant had access to the Work prior to its own reproduction, distribution, and public display

of the Work on its restaurant menu and website.

         27.   Defendant reproduced, distributed, and publicly displayed the Work without

authorization from Plaintiff.
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       28.       By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

displaying the Work for its own commercial purposes.

       29.       Defendant’s infringement was willful as it acted with actual knowledge or reckless

disregard for whether its conduct infringed upon Plaintiff’s copyright. Notably, Defendant itself

utilizes a copyright disclaimer on its website “Copyright © 2023 Wing Madness New Haven - All

Rights Reserved.”), indicating that Defendant understands the importance of copyright protection/

intellectual property rights and is actually representing that it owns each of the photographs

published on its website. See, e.g., Bell v. ROI Prop. Grp. Mgmt., LLC, No. 1:18-cv-00043-TWP-

DLP, 2018 U.S. Dist. LEXIS 127717, at *3 (S.D. Ind. July 31, 2018) (“[T]he willfulness of ROI’s

infringement is evidenced by the fact that at the bottom of the webpage on which the Indianapolis

photograph was unlawfully published appeared the following: ‘Copyright © 2017.’ By placing a

copyright mark at the bottom of its webpage that contained Mr. Bell’s copyrighted Indianapolis

Photograph, Mr. Bell asserts ROI willfully infringed his copyright by claiming that it owned the

copyright to everything on the webpage.”); John Perez Graphics & Design, LLC v. Green Tree

Inv. Grp., Inc., Civil Action No. 3:12-cv-4194-M, 2013 U.S. Dist. LEXIS 61928, at *12-13 (N.D.

Tex. May 1, 2013) (“Once on Defendant’s website, Defendant asserted ownership of Plaintiff's

Registered Work by including a copyright notice at the bottom of the page. Based on these

allegations, the Court finds Plaintiff has sufficiently pled a willful violation….”). Defendant

clearly understands that professional photography such as the Work is generally paid for and

cannot simply be copied from the internet.

       30.       Plaintiff has been damaged as a direct and proximate result of Defendant’s

 infringement.

       31.       Plaintiff is entitled to recover its actual damages resulting from Defendant’s
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unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b)), Plaintiff

is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

of the Work, which amounts shall be proven at trial.

       32.     Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

       33.     Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

attorneys’ fees as a result of Defendant’s conduct.

       34.     Defendant’s conduct has caused, and any continued infringing conduct will

continue to cause, irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

   a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

   b. A declaration that such infringement is willful;

   c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

       Plaintiff’s election, an award of statutory damages for willful infringement up to

       $150,000.00 for each infringement of the Work;

   d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

   e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

   f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

       successors, affiliates, subsidiaries and assigns, and all those in active concert and

       participation with Wing Madness, from directly or indirectly infringing Plaintiff’s

       copyrights or continuing to display, transfer, advertise, reproduce, or otherwise market any

       works derived or copied from the Work or to participate or assist in any such activity; and
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   g. For such other relief as the Court deems just and proper.

                                      Demand For Jury Trial

Plaintiff demands a trial by jury on all issued so triable.

Dated: May 18, 2023                         PREPARED FOOD PHOTOS, INC.
                                            By & through its attorney,

                                            Chip Muller, Esq.
                                            Muller Law, LLC
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                                            By: /s/ __Chip Muller______
                                                Chip Muller, Esq. (#30534)




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